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AO 470 (Rev. 01/09) Order Scheduling a Detention Hearing



                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                           District of Nevada

                  United States of America                         )
                             v.                                    )      Case No. 2:12-cr-084-JCM-GWF
                                                                   )
                ROGER GRODESKY                                     )
                            Defendant                              )

                                        ORDER SCHEDULING A DETENTION HEARING


          A detention hearing in this case is scheduled as follows:

          U.S. DISTRICT COURT
Place:                                                                    Courtroom No.:      3A
          333 LAS VEGAS BLVD. SOUTH
          LAS VEGAS, NV 89101                                                                 Wednesday, April 11, 2012,
                                                                          Date and Time:
                                                                                              3:00 PM

        IT IS ORDERED: Pending the hearing, the defendant is to be detained in the custody of the United States
marshal or any other authorized officer. The custodian must bring the defendant to the hearing at the time, date, and
place set forth above.




Date:          Apr 9, 2012
                                                                                             Judge’s signature


                                                                          GEORGE FOLEY, JR., U.S. MAGISTRATE JUDGE
                                                                                           Printed name and title
